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                                           EXHIBIT A

                 AFFIDAVIT OF SPECIAL AGENT DAVID M. DiTULLIO

I, Special Agent David M. DiTullio, being duly sworn, do hereby depose and state as follows:

       1.      I have been employed as a Special Agent with the Drug Enforcement

Administration (“DEA”) since August 2000. I am currently assigned to the New England Field

Division’s Worcester Tactical Diversion Squad. I have received extensive training in the field of

narcotics enforcement. I have attended the DEA Academy at Quantico, Virginia for sixteen (16)

weeks and have participated in numerous narcotics investigations in both a surface and an

undercover capacity. I have investigated all aspects of narcotic organizations from street-level

distributors to large-scale traffickers. I have interviewed and operated informants, executed

search and arrest warrants, purchased drugs in an undercover capacity, arrested and interviewed

subjects, conducted physical surveillance, utilized electronic and video surveillance, and testified

in federal and state trial courts. I have become familiar with the techniques and methods utilized

by drug distributors.

       2.      In addition to the above-stated formal training, I have also worked with and

consulted numerous agents and law enforcement officers who have investigated drug distribution

and trafficking throughout the United States. Prior to this, I was employed as a uniformed police

officer for two (2) years in the Commonwealth of Massachusetts. I have participated in

numerous narcotics investigations, debriefed or participated in debriefings of numerous

defendants, informants, and witnesses who had personal knowledge regarding major narcotics

trafficking organizations, and have participated in all aspects of drug investigations including

conducting surveillance, analyzing information obtained from court-ordered pen register and trap

and trace intercepts, and analyzing telephone toll information obtained as a result of subpoenas
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issued by the DEA. I have also been involved in numerous wiretap investigations involving

several drug trafficking organizations. I am aware that drug traffickers commonly use cellular

telephones and pagers in furtherance of their drug trafficking activities and frequently change

cellular telephone numbers and cellular telephones in an effort to thwart law enforcement’s use

of electronic surveillance. I am also aware that drug traffickers often speak in vague, guarded, or

coded language when discussing their illegal business in an effort to further prevent detection.

       3.      I submit this affidavit in support of a Complaint for Forfeiture In Rem against the

following assets:

               a) $38,690 in United States currency seized from a safe deposit
                  box in the name of Angelo and Rosemarie Tuccio, located at
                  Webster Five Cent Savings Bank, Webster, Massachusetts on
                  April 5, 2016; and

               b) $1,069 in United States currency seized from Angelo Tuccio,
                  Sr., on April 5, 2016, in Dudley, Massachusetts

(collectively, the “Currency”).

       4.      This affidavit does not contain all the information known to me and other law

enforcement officers regarding this investigation, but only those facts sufficient to establish

probable cause for forfeiture of the Currency.

       5.      This affidavit is based upon my personal knowledge, as well as information

provided to me by law enforcement personnel involved in the investigation, and my review of

records and reports relating to the investigation.

       6.      As set forth below, I have probable cause to believe that the Currency is subject to

forfeiture to the United States pursuant to 21 U.S.C. § 881(a)(6) because it represents moneys,

negotiable instruments, securities, or other things of value furnished or intended to be furnished by

any person in exchange for a controlled substance or listed chemical in violation of 21 U.S.C.



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§§ 841 and/or 846, proceeds traceable to such an exchange, and/or moneys, negotiable instruments,

or securities used or intended to be used to facilitate such a violation.

                           The Investigation and Controlled Purchases

        7.      At the end of February 2016, the DEA and the Southern Worcester County Drug

and Counter Crime Task Force began an investigation into the illegal distribution and sale of

Oxycodone by Angelo Tuccio, Sr. (“Tuccio”), and his wife, Rosemarie Tuccio, who were selling

Oxycodone from their residence in Dudley, Massachusetts. As set forth in more detail below,

the investigation involved two controlled purchases of Oxycodone, and revealed that Tuccio was

engaged in the illegal distribution and sale of prescription drugs. It was after the second

controlled purchase of Oxycodone, and execution of search warrants at the Tuccio’s residence in

Dudley, Massachusetts, and of Tuccio’s safe deposit box at the Webster Five Cent Savings Bank

in Webster, Massachusetts, that the Currency was seized.

        8.      The first controlled buy took place on March 17, 2016. Earlier in March, Task

Force Officer Scott Alicea-Bailey (“TFO Alicea-Bailey”), acting in an undercover capacity, was

introduced to Angelo Tuccio, Sr. (“Tuccio”) by a Dudley Police Department confidential

informant (“CI”). The CI was not involved in the controlled purchases between TFO Alicea-

Bailey and Tuccio. On March 17, 2016, TFO Alicea-Bailey was provided with one $10 bill

(serial number IJ29939367A) in order to make a controlled purchase of Oycodone from the

Tuccio’s at their residence. TFO Alicea-Bailey went to the Tuccio’s home, and went inside the




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home to meet with Tuccio. Once inside, TFO Alicea-Bailey purchased two Oxycodone 5mg

pills from Tuccio, which Tuccio retrieved from a plastic bag. 1

       9.      At the time, Rosemarie Tuccio told Tuccio that the Oxycodone pills in the plastic

bag were intended for sale to another buyer. Tuccio handed the two Oxycodone pills to TFO

Alicea-Bailey, and said that they would sell the other buyer eight Oxycodone tablets instead of

ten. TFO Alicea-Bailey paid for the two Oxycodone pills with the funds provided for the

controlled buy.

       10.     During the transaction, TFO Alicea-Bailey asked Tuccio how he sold Oxycodone.

Tuccio said that he waited several days without taking the medication, then sold the pills. Tuccio

stated that he had to sell the pills in that manner because his doctor conducted random pill

counts. 2 Tuccio then said that he was waiting on a delivery of prescription medication that was

going to be sent through the United States Postal Service. Tuccio said that his supplier sent

Oxycodone tablets in the mail to him, and they (Tuccio and his wife) planned on selling those

tablets once they received them. TFO Alicea-Bailey asked Tuccio if he could return to the

Tuccio’s home to purchase more Oxycodone in the future, and Tuccio said that he could. After

the purchase, TFO Alicea-Bailey left the residence, and turned the Oxycodone over to Dudley

Police Detective Sergeant James Hoover to be secured into evidence.




       1
        The pills were identified as Oxycodone based on TFO Alicea-Bailey’s training and
experience and their physical appearance. The pills were sent to the Massachusetts State Police
Laboratory for testing, and test results are pending.
       2
         On February 26, 2016, prior to the first controlled buy, Tuccio called the Dudley Police
Department to report that his medication had gone missing, and said he did not know who would
have taken it.

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       11.     On April 3, 2016, TFO Alicea- Bailey, again acting in an undercover capacity,

made a second purchase of two Oxycodone 5mg pills at Tuccio’s residence. TFO Alicea-Bailey

was provided with one $10 bill (serial number MG3880912A) to purchase the Oxycodone. TFO

Alicea-Bailey went to the Tuccio’s residence, and went inside the home. Once inside, TFO

Alicea-Bailey sat down at the kitchen table with Tuccio and Rosemarie Tuccio. TFO Alicea-

Bailey asked Tuccio if he could “get two,” meaning two Oxycodone tablets. Tuccio stood up

from the table, and walked into a room that TFO Alicea-Bailey thought was a bedroom. Tuccio

returned to the kitchen and placed two Oxycodone tablets on the kitchen table. TFO Alicea-

Bailey placed the $10 bill on the table and took the Oxycodone. After the purchase, TFO Alicea-

Bailey left the Tuccio home, turned the Oxycodone over to Dudley Police Officer Kevin

Remillard (“Officer Remillard”), and the pills were secured into evidence. 3

                   Execution of Search Warrants and Tuccio’s Admissions

       12.     On April 5, 2016, a search warrant authorized by the Commonwealth of

Massachusetts was executed at Tuccio’s residence. When law enforcement officers went inside

the home to execute the warrant, both Tuccio and Rosemarie Tuccio were advised of their

Miranda rights. After Tuccio signed a Miranda card and stated that he understood his rights,

Tuccio said that he would speak with the officers about the illegal sale of prescription narcotics.

       13.     Officer Remillard escorted Tuccio into the living room and searched Tuccio for

officer safety purposes and pursuant to the search warrant. Tuccio had $271 in United States

currency in the front pocket of the pants that he was wearing, and the $10 bill (serial number




       3
        The pills were identified as Oxycodone based on TFO Alicea-Bailey’s training and
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MG3880912A) used during the controlled buy on April 3, 2016 was part of the money Tuccio

had in his pocket. Officer Remillard asked Tuccio if he knew why the police were at his home,

and Tuccio said he did not. Officer Remillard said that they were there because Tuccio was

selling prescription medication from his residence. Tuccio denied that he sold prescription

medication. Officer Remillard informed Tuccio that law enforcement had been conducting an

ongoing investigation, and that Tuccio sold Oxycodone to an undercover police officer.

       14.     At that point, Tuccio began to tell Officer Remillard that he, in fact, did sell

prescription medication, specifically Oxycodone tablets, that had been prescribed to him. He

also said that he received pills via the United States Postal Service from his son, Angelo Tuccio

II (“Tuccio II”), who lived in Florida. Tuccio said that his son sent a package once a month to

him that contained prescription medication, including 30mg Oxycodone pills and 10mg

Methadone pills. Tuccio described how his son placed the prescription medication inside of

DVD movie cases, taped the cases shut, and sent the package by express mail. Tuccio said he

sold the Oxycodone and Methadone tablets for a profit for his son and had been doing so for

several years. Tuccio also said that sometimes his son drove from Florida to visit him, and

Tuccio II brought the medication with him to sell. During his son’s visit, his son saw doctors in

Massachusetts and obtained more prescription medication to sell.

       15.     During a search of the residence, a DVD movie case was found in the bathroom.

The DVD case had tape around the edges that was broken, and the case was open. Inside the

movie case was a DVD and a small amount of white residue, which officers believed to be

prescription medication. During the search, several empty prescription bottles that were labeled

for Tuccio II, with Tuccio’s Dudley, Massachusetts address were also found. The labels on the

bottles showed that Tuccio II received Oxycodone and Oxycontin tablets from three different



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physicians. Prescription bottles in Tuccio’s name were also discovered. The physical

appearance and markings on the Oxycodone tablets found in the residence were consistent with

the Oxycodone purchased by TFO Alicea-Bailey during the undercover buy.

       16.     Officers executing the search warrant also located safe deposit box keys for a safe

deposit box located at Webster Five Cent Savings Bank. Tuccio was asked about the safe

deposit box, and he stated that there was an unknown amount of cash stored in the safe deposit

box.

       17.     Law enforcement officers further seized items including, but not limited to, 100

Oxycodone tablets in prescription bottles, empty bottles of prescription narcotics, 4 numerous

empty plastic Ziploc bags specifically for pills known as a “pill pouch,” “cuff lists” showing

drug transactions, 5 the DVD case that the prescription pills were concealed in when they were

shipped from Florida, and $1,079 in United States currency. Of the $1,079 in United States

currency, $271 was in Tuccio’s pants pocket, as set forth above, and $808 was found in a

pocketbook located in the bedroom closet, along with prescription bottles.

       18.     Tuccio was arrested and transported to the Dudley Police station. He was later

charged in state court with Distribution of a Class B Substance (Oxycodone), Possession with




       4
         Prescription bottles were found in a pocketbook in the bedroom closet, as well as in a
coffee can in the kitchen.
       5
          “Cuff lists” are commonly used by distributors to record the amount of “product”
(illegal narcotics) distributed to lower level dealers, as well as a record of customer purchases
and amount of money spent by a customer.

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Intent to Distribute a Class B Substance (Oxycodone), and Conspiracy to Violation State Drug

Laws. 6

          19.      Tuccio agreed to provide a recorded statement to Dudley Police Officer James

Annese (“Officer Annese”). Officer Annese advised Tuccio of his rights, and told him that the

interview was being recorded. Tuccio said that he understood his rights. During the interview,

Tuccio admitted, in part and in substance, that he sold pills to people that went to his residence.

He said that he sold 30mg Percocet that he received by express mail through the United States

Postal Service. Tuccio stated that he sold the pills for $30 per pill, that he sold to two to three

people, and that he usually sold between 2 and 15 pills at a time. He said that his son shipped the

pills to him from Florida inside of movie boxes every couple of months, and that the packages

were delivered to his house and he signed for it. Tuccio said he was stupid for selling the pills

but was dealing to make more money to supplement his Social Security income. He said that

Rosemarie Tuccio knew about his selling narcotics, and may have sold once herself. At the time

of the interview, Tuccio said he last received a package from his son approximately two-and-a-

half months prior. Tuccio said that sometimes he mailed profits from drug sales to his son, or

held the money until his son visited.

          20.      Officer Annese read Tuccio a consent form to search the safe deposit box (#972)

located at Webster Five Cent Savings Bank. Tuccio stated that he understood, and signed the

consent to search form.

          21.      On April 5, 2016, Sergeant James Hutchinson (“Sgt. Hutchinson”) applied for and

received a search warrant from the Commonwealth of Massachusetts to search Tuccio’s safe




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              Those charges remain pending.

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deposit box, number 972, at the Webster Five Cent Savings Bank. The officers executing the

search warrant for the safe deposit box used the keys seized from Tuccio’s residence to access

the box. Inside the safe deposit box was $38,690 in United States currency. 7 According to bank

records, the safe deposit box was obtained by Angelo and Rosemarie Tuccio on March 15, 2001.

Bank records show that Tuccio made nine visits to the safe deposit box between February 23,

2016 and April 4, 2016.

       22.      The $38,690 in United States currency was seized from the safe deposit box,

along with money bands, envelopes and a bank bag. The currency in the box was banded in

stacks totaling $1000, $500 and other amounts. The Currency was made up of the following

denominations: 29 $100 bills (totaling $29,100), 46 $50 bills (totaling $2,300), 360 $20 bills

(totaling $7,200), and 9 $10 bills (totaling $90).

       23.      DEA investigators obtained electronic prescription records from Massachusetts

Prescription Monitoring Program (“MA PMP”) and Florida Prescription Monitoring Program

(“FL PMP”) for Tuccio II, from March 2015 through March 2016. Massachusetts records

revealed that Tuccio II had 40 Oxycodone prescriptions, totaling 3,500 tablets, mainly filled at

Rite Aid Pharmacy in Webster, Massachusetts by Tuccio. Out of the 40 prescriptions to Tuccio

II, 31 of the prescriptions were dropped off and filled by Tuccio. Florida records revealed that,

from March 2015 to March 2016, Tuccio II received 4 Oxycodone prescriptions totaling 448

tablets, and 4 Methadone prescriptions totaling 224 tablets. All of these prescriptions were filled

in Florida.




       7
           Paperwork regarding a burial plot was also located in the safe deposit box.

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